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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF NEW YORK


DOUGLAS J. HORN,

                         Plaintiff,
                                                          VOIR DIRE INFORMATION
       -vs-
                                                          Case No. 1:15-cv-00701
MEDICAL MARIJUANA, INC.,
DIXIE ELIXIRS AND EDIBLES,
RED DICE HOLDINGS, LLC,
and DIXIE BOTANICALS,

                         Defendants.


                  Defendants MEDICAL MARIJUANA, INC. (“MMI”) and RED DICE HOLDINGS,

LLS (“RDH”) submit this Voir Dire Information pursuant to the Court’s order dated April 29, 2021

(Dkt. No. 174):

1.     Short Description of the Case

                  This is an action brought plaintiff, Douglas J. Horn, to recover damages allegedly

sustained when he was terminated by his employer after testing positive for THC. Plaintiff alleges

that the positive THC test was caused by his consumption of a product called “Dixie X CBD Dew

Drops 500 mg Tincture,” which was manufactured by defendant, Dixie Elixirs, sold by defendant,

Red Dice Holdings, LLC, and for which defendant, Medical Marijuana Inc., provided management,

investing and consulting services.

                  Plaintiff’s only remaining causes of actions against the defendants are those he has

styled as “COUNT II – RICO VIOLATION” and “COUNT III – Fraudulent Inducement.” Plaintiff

alleges that he consumed the product at issue while relying on representations made by the defendants

that the product did not contain THC. Plaintiff alleges that the product did contain THC and it caused


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him to test positive for THC, resulting in termination from his employment. Plaintiff claims monetary

damages against the defendants allegedly related to his termination.

                Defendants have taken the position that the plaintiff cannot recover under these causes

of action as he cannot prove that the product he consumed contained THC, that the product caused

his positive test for THC, that defendants knew that the product contained THC, that the defendants

knowingly misrepresented that the product did not contain THC, or that the plaintiff relied on

representations that the product did not contain THC in deciding to consume the product.

2.     Name and Address of the Client

Clients:                         Medical Marijuana, Inc.
                                 4901 Morena Boulevard
                                 Suite 701
                                 San Diego, California 92117

                                 Red Dice Holding, LLC
                                 1610 Wynkoop Street
                                 Suite 400
                                 Denver, Colorado 80202

Corporate Representative:        Phillip E. Koehnke, APC

3.     Name and Address of Counsel

Counsel:                         Roy A. Mura, Esq.
                                 Scott D. Mancuso Esq.

                                 MURA LAW GROUP, PLLC
                                 f/k/a Mura & Storm, PLLC
                                 930 Rand Building
                                 14 Lafayette Square
                                 Buffalo, New York 14203

Assistants:                      Doreen Watson, Paralegal
                                 Jaime Doktor, Legal Assistant
                                 Sharyl Hummel, Legal Assistant

4.     List of Prospective Witnesses

Douglas Horn

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     (i)        Douglas J. Horn

     (ii)       Commercial truck driver

     (iii)      195 Parker Road, Lockwood, New York 14859

     (iv)       Testimony regarding allegations made as plaintiff against the defendants in this action.

Charles S. Amodio

     (i)        Charles A. Amodio

     (ii)       CPA, CFF, MAFF, MBA at Ferraro, Amodio & Zarecki, CPAs

     (iii)      18 Division Street, Suite 413, Saratoga Springs, NY 12866

     (iv)       Expert testimony regarding plaintiff’s alleged claim of economic loss.

Cindy S. Orser

     (i)        Cynthia S. Orser

     (ii)       Ph.D., Chief Science Officer and Lab Director of CLIP Labs

     (iii)      5946 Pacific Center Blvd, Suite 504, San Diego, CA 92121

     (iv)       Expert testimony regarding plaintiff’s inability to prove that the subject product caused

                plaintiff to fail his random urine test.



5.           Proposed Voir Dire Questions

               Defendants, MMI/RDH, respectfully requests that the Court ask the following
questions of prospective jurors in this case:

                    1. Do you think you can render a fair and impartial decision to defendants Medical
                       Marijuana, Inc. and Red Dice Holdings, LLC even though they were or still are in
                       the business of selling marijuana-based products?

                    2. Do you believe that marijuana use should be legal, whether for medicinal,
                       holistic, or recreational use?

                    3. Have you, any member of your family, or any of your close friends ever been
                       arrested for any crime related to marijuana possession or use?

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              4. Have you, any member of your family, or any of your close friends ever been
                 terminated from employment due to a positive drug test?

              5. Have you, any member of your family, or any of your close friends ever worked
                 as a commercial truck driver?

              6. Have you, any member of your family, or any of your close friends ever worked
                 as a chemist or toxicologist?

              7. Do you understand the difference between CBD and THC?

              8. Have you ever purchased and/or used a CBD product?

              9. Have you ever purchased and/or used hemp oil or hemp seed products?

              10. Do you believe that products that are listed as “caffeine-free” may have trace
                  amounts of caffeine in them?

DATED:        Buffalo, New York
              June 18, 2021
                                                         s/Roy A. Mura

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                                                         f/k/a Mura & Storm, PLLC
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                                                         Red Dice Holdings, LLC
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